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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

CARMEN GOMEZ AND ON BEHALF OF
ALL OTHERS SIMILARLY SITUATED,

                             Plaintiffs,
                                                                      ORDER
             v.
                                                                17 Civ. 8173 (ER)
LUTAS BEAUTY INC.,

                             Defendant.



RAMOS, D.J.

        On October 23, 2017, Carmen Gomez brought this action against Bleu Sur LLC for

violation of the Americans with Disabilities Act and related claims. Doc. 1. On November 27,

2019, Plaintiff amended the complaint, terminating Bleu Sur LLC and adding Lutas Beauty Inc.

as Defendant. Doc. 6. Defendant was served on December 5, 2019. Doc. 9. Since then,

Defendant has not responded to the complaint and the parties have not otherwise contacted the

Court. Accordingly, the parties are directed to submit a joint status report by November 19,

2020. Failure to comply with the Court’s order could result in sanctions, including dismissal for

failure to prosecute. Fed. R. Civ. P. 41(b).

       It is SO ORDERED.

Dated: November 5, 2020
       New York, New York

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                                                           Edgardo Ramos, U.S.D.J.
